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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

  In re:                                               CASE NO.: 6:24-bk-03076-LVV
                                                       CHAPTER 11
  PAYKICKSTART, LLC
                                                       Subchapter V Election
       Applicable Debtor.
  _______________________________/

  In re:                                               CASE NO.: 6:24-bk-03075-LVV
                                                       CHAPTER 11
  ABIDE BRANDS, INC.
                                                      Subchapter V Election

           Debtor.                                    Emergency Hearing Requested on or before
                                                      Monday, June 24, 2024
________________________________/

                          EMERGENCY MOTION FOR AUTHORITY
                            TO PAY PRE-PETITION WAGES AND
                     REQUEST FOR EMERGENCY PRELIMINARY HEARING
                                (Emergency Hearing Requested)

       PAYKICKSTART, LLC, a Florida Limited Liability Company (“PayKickstart” or the

“Debtor”), by and through its undersigned counsel, moves pursuant to 11 U.S.C. §§ 105(a), 507(a) and

Local Rule 2081-1(g)(3) for authority to pay pre-petition wages to its independent contractors (the

“Motion”), and requests an emergency preliminary hearing on or before Monday, June 24, 2024

to consider the relief requested herein. In support of the Motion, Debtor states as follows:

                            Jurisdiction, Venue and Procedural History

       1.       On June 19, 2024 (the “Petition Date”), PayKickstart and Abide Brands, Inc. (“Abide”)

filed their respective petitions for relief under Chapter 11 of Title 11 of the United States Code

(“Bankruptcy Code”) and elected to pursue relief under the provisions of Subchapter V. The Debtors

continue to manage and operate their businesses as affiliated debtors-in-possession in accordance with

the Bankruptcy Code.
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                       Description of the Debtor’s Business and Employees

        2.     As more particularly set forth in the Debtor’s Joint Case Management Summary, Abide

is an acquisition, management and holding company for software assets. Abide is managed and

controlled by its sole-shareholder, Jared Schneider.

        3.     PayKickstart is also wholly owned and operated by Mr. Schneider. PayKickstart is a

software development company which provides e-commerce payment solutions for a wide variety of

clientele.

        4.     As of the Petition Date, PayKickstart employs ten (10) independent contractors

(collectively the “Employees”). The Employees occupy various positions within the Debtor’s

operation including: (a) customer support, (b) software engineering, and (c) compliance. The

Employees include one (1) Insider/Affiliate (Jared Schneider) as defined within the Bankruptcy Code.

The compensation of Mr. Schneider will be addressed by separate motion.

        5.     The Employees are scheduled to be paid on June 24, 2024 for the period covering June

8, 2024 through June 21, 2024 which payroll is scheduled to be paid on June 24, 2024 in the

approximate amount of $14,413.43 (the “Payroll Amount”). The name of each Employee to be paid,

along with the amounts to be paid are outlined in the payroll chart attached hereto as Exhibit “A”.

                                          Relief Requested

        6.     The Debtor seeks authorization to pay the Employees their wages earned during the

period covering June 8, 2024 through June 21, 2024 which includes pre-petition wages earned between

June 8, 2024 and June 18, 2024 (the “Pre-Petition Pay Period”), which are set to be paid in normal

course of business on June 24, 2024. The Debtor does not offer medical, dental, vision, life insurance

or HSA and 401K retirement benefits to the Employees and not other non-monetary benefits are

provided to the Employees.
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       7.       It is essential that the Debtor obtain authorization to pay the wages earned by the

Employees during the Pre-Petition Pay Period (the “Pre-Petition Wages”) to maintain the continuity

of the Debtor’s business and to preserve the morale of the Employees, who are vital to the operation of

the Debtor’s business. If the Debtor is not permitted to pay the Employees their compensation due as

of the Petition Date, the Employee will not receive payment for services already performed which

would irreparably harm the Employees’ morale at a time when their services are most needed by the

Debtor.

       8.       Without the requested relief, Debtor’s reorganization effort would be substantially

jeopardized. Moreover, Debtor’s payment of the post-petition wage claims in the ordinary course of

business will not prejudice its general unsecured creditor or materially affect the Debtor’s estate as

these claims are entitled to priority under sections 507(a)(4) and 507(a)(8)(D) of the Bankruptcy Code

and must be paid ahead of general unsecured claims.

       9.       For the Post-petition Pay Period, no Employee will receive compensation in excess of

$15,150.00, the limit set forth in 11 U.S.C. § 507(a)(4).

       10.      It is in the best interests of the creditors that the requested payments be authorized. The

Debtor’s chances of reorganization depend heavily upon the Employees’ continued service, and

creditors will fare significantly worse if the Debtor is unable to successfully reorganize. Accordingly,

the Debtor requests authorization to pay the pre-petition wages owed to the Employees when such

compensation becomes due in the ordinary course of business.

       WHEREFORE, the Debtor respectfully requests this Court (i) set an emergency hearing on

this Motion on or before Monday, June 24, 2024, (ii) grant the Motion and authorize the Debtor to

pay pre-petition wages of the Employees when such wages become due in the ordinary course of

business on June 24, 2024, (iii) and grant such other and further relief as the Court deems appropriate.

            RESPECTFULLY SUBMITTED this 20th day of June, 2024.
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                          /s/ Daniel A. Velasquez
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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

In re:
                                                           CASE NO. 6:24-bk-03076-LVV
PAYKICKSTART, LLC                                          CHAPTER 11

                                                           Subchapter V Election
      Debtor.
__________________________________________/

                                     CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true copy of the foregoing has been furnished either
electronically and/or by U.S. First Class, postage prepaid overnight mail to: PayKickstart, LLC, 508
Lake Cove Pointe Circle, Winter Garden, FL 34787; all parties entitled to receive electronic noticing
via CM/ECF; the twenty largest unsecured creditors as shown on the matrix attached to the original of
this pleading filed with the Court; and the U.S. Trustee, 400 W. Washington Street, Suite 1100,
Orlando, Florida 32801, this 20th day of June, 2024.

                                                   /s/ Daniel A. Velasquez
                                                   Daniel A. Velasquez, Esq.
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           Exhibit A
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PayKickstart, LLC
Estimated Payroll Report for the period covering June 8, 2024 through June 21, 2024.

Employee

Laburada, A                $                                                        780.51
Tungol, C                  $                                                        812.63
Dominguez, D               $                                                      1,406.10
Chauhan, G                 $                                                        154.23
Selimov, S                 $                                                      1,590.46
Kolesnikov, I              $                                                      1,593.34
Bogdanov, M                $                                                      2,081.62
Dubey, S                   $                                                        661.21
Boriani, R                 $                                                      3,333.33
Schneider, J               $                                                      2,000.00
Total                      $                                                    14,413.43
